                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                        :
 LINDA LOYKO, ADMINISTRATOR OF THE                      :
 ESTATE OF MYRON LOYKO                                  :      NO. 5:24-cv-0360
                                                        :
         v.                                             :
                                                        :
 OLD ORCHARD HEALTH CARE CENTER                         :
 EASTON PA, LLC D/B/A PROMEDICA SKILLED                 :
 NURSING AND REHABILITATION (OLD                        :
 ORCHARD); ET. AL.                                      :
                                                        :

                                          ORDER

       AND NOW, this 18th day of June, 2025, upon consideration of the Petition to

Approve Settlement and Distribution of the Wrongful Death and Survival Action filed by

Plaintiff, see ECF No. 17, it is hereby ORDERED and DECREED that the Petition is

GRANTED. Plaintiff is authorized to enter into a settlement with OLD ORCHARD HEALTH

CARE CENTER EASTON PA, LLC D/B/A PROMEDICA SKILLED NURSING AND

REHABILITATION (OLD ORCHARD); ET. AL. in the gross sum of ONE HUNDRED AND

FIFTY THOUSAND DOLLARS AND ZERO CENTS ($150,000.00), to be paid by OLD

ORCHARD HEALTH CARE CENTER EASTON PA, LLC D/B/A PROMEDICA SKILLED

NURSING AND REHABILITATION (OLD ORCHARD); ET. AL. .

       IT IS FURTHER ORDERED, that the settlement proceeds shall be allocated as 50% to

Wrongful Death Claim.

       IT IS FURTHER ORDERED, that the settlement proceeds shall be allocated as 50%

to Survival Claim.

       IT IS FURTHER ORDERED, that settlement proceeds shall be distributed as follows:

          To Haberman Law, P.C.                             $15,716.14
          (reimbursement of expenses)

          To Haberman Law, P.C.                             $60,000.00
          (legal fee: 40%)

          To Medicare                                   $1,989.55
          (payment of Demand for past medical expenses)
        IT IS FURTHER ORDERED, that the settlement proceeds of $ 72,294.31 shall be

allocated as follows:

                 The Proceeds shall be allocated as follows:

                         Survival (50%)                  $       36,147.15

                         Wrongful Death (50%)            $       36,147.16


                The Proceeds of the Survival Claim in the sum of $36,147.15 shall be paid as

         follows:

                    Estate of MYRON LOYKO in the amount of $36,147.15, less any amount

         paid or payable to PA Estate Recovery Program and/or DHS Casualty, if any, in

         waiver and/or compromise of its claim.


                 The Proceeds of the Wrongful Death Claim in the sum of $36,147.16 shall be

         paid as follows:

                    LINDA LOYKO            in the amount of $18,073.58

                    MELISSA HESS            in the amount of $18,073.58

        Within sixty (60) days from the date of this final Order, counsel for Plaintiff shall file

an Affidavit with the Court, certifying compliance with this Order. The Affidavit shall bear the

caption of the case and shall contain the court term and number. A copy of this Order shall be

attached thereto.


        Plaintiff and Plaintiff's counsel shall ensure that a Pennsylvania Inheritance Tax return is

filed, that the applicable inheritance tax is paid in full, and shall file proof of the same with the

court within thirty days of the court approval of this settlement.


                                                 BY THE COURT:



                                                  /s/ Joseph F. Leeson, Jr.
                                                 _________________________
                                                  JOSEPH F. LEESON, JR.
                                                  United States District Judge
